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                 UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                         )
                                         )
DAVID SLYDER                             ) Case No.:
                                         )
             Plaintiff.                  ) 6:21-CV-00533
                                         )
      v.                                 )
                                         )
WESTLAKE SERVICES, LLC,                  )
                                         )
                Defendant.               )
                                         )

                          NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: August 27, 2021                 By: /s/ Amy L.B Ginsburg
                                         Amy L.B. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Pike
                                         Ambler, PA 19002
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                         CERTIFICATE OF SERVICE

            I, Amy L.B. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via CM/ECF system:

Marlee (Waxelbaum) Santos
Troutman Sanders, LLP
1001 Haxall Point
# 15TH
Floor Richmond VA
(804) 697-1480
(804) 698-5109
Email: Marlee.Santos@troutman.com
Attorney for Defendant




Dated: August 27, 2021               By: /s/ Amy L.B. Ginsburg
                                       Amy L.B. Ginsburg, Esquire
                                       Kimmel & Silverman, P.C.
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